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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES SECURITIES AND                    )
EXCHANGE COMMISSION,                            )
                                                )
               Plaintiff,                       )
                                                )     Case No. 18 C 5587
         v.                                     )
                                                )     Judge John Z. Lee
EQUITYBUILD, INC., EQUITYBUILD                  )
FINANCE, LLC, JEROME H. COHEN,                  )
And SHAUN D. COHEN,                             )
                                                )
               Defendants.                      )

                                         ORDER

         For the reasons stated herein, the Receiver’s third and fourth interim

applications and motions for Court approval of payment of fees and expenses of the

Receiver and his retained professionals [569] [576] are granted.

                                        Statement

I.       Background

         Receiver’s third interim application, see ECF No. 569, covers the period from

January 1, 2019 through March 31, 2019. The Receiver requests:

     •   $106,392.00 for the Receiver;
     •   $418,673.37 for Rachlis Duff Peel & Kaplan, LLC (“RDPK”);
     •   $21,102.00 for BrookWeiner, LLC;
     •   $1,599.67 for Prometheum.

         Receiver’s fourth interim application, see ECF No. 576, covers the period from

April 1, 2019 through June 30, 2019. The Receiver requests:

     •   $99,138.00 for the Receiver;
     •   $403,111.76 for RDPK;
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      •   $18,502.50 for BrookWeiner;
      •   $3,706.88 for Whitley Penn; and
      •   $797.50 for Prometheum.

II.       Legal Standard

          “In securities law receiverships, . . . the awarding of fees rests in the district

judge’s discretion, which will not be disturbed unless he has abused it.” S.E.C. v.

First Secs. Co. of Chi., 528 F.2d 449, 451 (7th Cir 1976). “[T]he court may consider

all of the factors involved in a particular receivership in determining an appropriate

fee.”     Gaskill v. Gordon, 27 F.3d 248, 253 (7th Cir. 1994).            In making this

determination, courts consider that the benefits provided by a receivership “may

take more subtle forms than a bare increase in monetary value.” Id. (quoting S.E.C.

v. Elliott, 953 F.2d 1560, 1577 (11th Cir. 1992)). Accordingly, “[e]ven though a

receiver may not have increased, or prevented a decrease in, the value of the

collateral, if a receiver reasonably and diligently discharges his duties, he is entitled

to compensation.” Id. (quoting Elliott, 953 F.2d at 1577). And courts also look to

the position of the SEC, which is given “great weight” in determining whether fees

should be awarded. First Secs. Co., 528 F.2d at 451 (citation omitted).

III.      Analysis

          The Court grants the fee applications at issue, overruling the objections made

by certain lenders. See Obj. to Receiver’s Third Interim Application for Fees, ECF

No. 581; Obj. to Receiver’s Fourth Interim Application for Fees, ECF No. 595. The

Court’s position with respect to these applications is influenced by, and consistent




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with, that of the SEC. See SEC’s Reply in Support of Receiver Fee Applications,

ECF No. 606; First Secs. Co., 528 F.2d at 451.

      As the Court has repeatedly recognized, there is a significant need for the

Receivership Assets to be managed by a neutral party until an orderly claims

process is concluded.    Moreover, the Court continues to find that the Receiver’s

efforts have benefitted and will benefit the Receivership Estate. While the objecting

lenders suggest that the Receiver’s requested fees are excessive, see, e.g., Obj. to

Receiver’s Third Interim Application for Fees at 2; Obj. to Receiver’s Fourth Interim

Application for Fees at 4, the Court concludes that the lenders have failed to show

that those fees are unreasonable. As the SEC noted in its reply brief, see SEC’s

Reply in Support of Receiver Fee Applications at 2, the Receiver and his legal

professionals have devoted significant resources responding to various motions,

objections, and inquiries made by lenders, with these efforts increasing the amount

of fees the Receiver is reasonably entitled to.

      Relatedly, while the objecting lenders contend that the Receiver’s liquidation

and distribution efforts have proceeded too slowly, see, e.g., Obj. to Receiver’s Third

Interim Application for Fees at 6; Obj. to Receiver’s Fourth Interim Application for

Fees at 2, the Court notes that those efforts have been delayed in part by time spent

responding to various motions and objections made by lenders. It is further worth

noting that the fee applications at issue were filed consistent with the Order setting

deadlines for these applications. See Order Setting Deadlines for Filing Quarterly

Fee Applications, ECF No. 568.




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      Finally, the objecting lenders argue that the Court should hold back 20% of

the Receiver’s requested fees “given the apparent insolvency of the estate,” Obj. to

Receiver’s Fourth Interim Application for Fees at 3.       However, the Court is

persuaded by the Receiver’s response that the estate is not in fact insolvent given

the amount of cash on hand—over $1.3 million as of December 20, 2019—and the

amounts that the Receiver may recover from claims he is presently evaluating as

well as from the sale of the Naples property. See Receiver’s Combined Response to

Obj. to Fee Applications at 3, ECF No. 607.

      In sum, the Court determines that an award of the fees requested is

appropriate, based on the complexity of the Receivership, the quality of the work

performed, the benefit to the Receivership Estate, and the time records presented

with the applications.   The lenders’ objections are overruled, and the Receiver’s

motions are granted.




IT IS SO ORDERED.                                  ENTERED: 1/7/20


                                                   ______________________________
                                                   John Z. Lee
                                                   United States District Judge




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